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B § F LEE S. WoLosKY
`, rel.; (212) 754-4205

E-mail: lwolosky@bsfllp.com

June 21, 2018
BY ECF

Hon. Katherine B. Forrest
United States District Judge
Southern District of New York
500 Pearl Street, Room 2230
New York, New York 10007

Re: Broidy Capital Management LLC et ano. v. Allaham, 18-mc-00240-KBF
(S.D.N.Y.)

Dear Judge Forrest:

Pursuant to Your Honor’s June 15, 2018 Order (ECF No. 15), Movants Broidy Capital
l\/lanagement LLC and Elliott Broidy seek a conference With Your Honor to resolve Mr.
Allaham’s ongoing failure to comply With the subpoenas served on him and With Your Honor’s
three Orders.

Pursuant to the Court’s June 15, 2018 Order, counsel met and conferred by telephone on
June 20, 2018, the day after Mr. Allaham’s deposition While the parties are continuing to
confer on a number of issues related to Mr. Allaham’s document production, a conference is
necessary to resolve an impasse concerning the scope of Mr. Allaham’s Waiver of all objections
to the document subpoena served on him. A conference is also necessary to address Mr.
Allaham’s refusal to testify fully or at all about certain matters at his deposition Mr. Allaham
treated his obligation to answer questions at his deposition With the same contempt he treated his
obligation to produce documents, before he Was subject to Orders of this court.

 
      

disclosures made in a belated ublic filin he made on June
15 2018 ursuant to the Forei n A ents Re istration Act.l

 

l Registration Statement of Lexington Strategies, LLC at 3 , https://WWW.fara.gov/docs/6563-
Registration-Statement-20180615-1 .pdf.

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BSF

To date, we have not received any
updates from Mr. Allaham’s counsel on these points.

 

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BS.F

 

Mr. Allaham’s refusal to testify fully on June 19 warrants an order compelling his
testimony over an additional four hours of examination, with expenses paid by Mr. Allaham. An
additional four hours of testimony is also necessary to examine Mr. Allaham on documents
improperly withheld on the basis of scope and attorney-client privilege

At the June 6, 2018 hearing, the Court ruled that all of Mr. Allaham’s “defenses have
been waived as there was no objection served as of June l, when it was su osed to be served.”2
“All defenses” includes an ob`ections as to sco e and rivile e.

 

For the above reasons, Movants request a conference on Monday, June 25, 2018.6

Respectfully submitted,

/s/ Lee S. Wolosky
Lee S. Wolosky

cc (By E-mail): Counsel for l\/lr. Allaham and Defendants in the Underlying Action

 

 

2 June 6 Hr’g Tr. at 28.

 

Mr. Allaham’s counsel has advised us that she is unavailable on Friday, June 22, 2018.

 

